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                          UNITED STATES DISTRICT COURT                   Ff LED
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION                      MAY 2 4 2017
                                                                    U.S. DISTRICT COURT
UNITED STATES OF AMERICA,                      )                  EASTERN DISTRICT OF MO
                                               )                          ST.LOUIS
                                               ),,,.----------------~
            Plaintiff,
                                               )
v.                                             )'
                                                    4:17CR00234 RLW/DDN
                                               )
MOHAMMED ALMUTTAN a/k/a Abu Ali,               )    Cts. 1, 2, 3, 4, 14, 34
RAMI ALMUTTAN a/k/a Abu Louay,                 )    Cts. 1, 2, 14, 60, 61
HISHAM MUTAN a/k/a Abu Mohamed,                )    Cts. 1, 2, 14
SADDAM MUTAN, a/k/a Abu Ali,                   )    Cts. 1, 5-14, 28, 37, 68-84
MAZIN ABDELSALAM a/k/a Abu Mohammad,           )    Cts.1, 14-27, 29-33, 35, 36, 38-59, 62-67
NAJEH MUHANA a/k/a Abu Yazan,                  )    Cts. 1, 3
FARES MUHANA a/k/a Abu Yamama,                 )    Ct. 1
AYOUB QAIYMAH a/k/a Abu Faysal,                )    Ct. 1
NASER ABID, ·                                  )    Ct. 1
YADGAR BARZANJI a/k/a Abu Siver,               )    Ct. 1
WAFAAALWAN,                                    )    Cts. 1, 6
AHMED ABUALI a/k/a Bazilla,                    )    Ct. 1
MOHAMMED KAYED a/k/a Mohammed Fayez,           )    Ct. 1
MOMEN ABUALI,                                  )    Cts. 1, 11
FIRAT SEVINDIK,                                )    Cts. 1, 9
MOHAMMED MUSTAFA,                              )    Cts. 1, 5
MOHAMMAD KARASHQAH a/k/a Abu Yazid,            )    Ct. 1
FAYEZ SHEIKHA,                                 )    Cts. 1, 3, 4
JIHAD SIDHADEH a/k/a Abu Malik,                )    Cts. 1, 10
ISMAEL ABADI,                                  )    Cts. 1, 7
ABED HAMED a/k/a Abed Fawzan,                  )    Ct. 1
MAHER HAMED a/k/a Abu Alazara,                 )    Ct. 1
ABDEL ADI,                                     )    Cts. 1, 13 1
MUHANAD KHATIB a/k/a Abu Alamin,               )    Cts. 1, 8
EYADAWAD,                                      )    Cts. 1, 8
DALE GARBIN,                                   )    Ct. 1
HAYDERAL FATLI,                                )    Ct. 1
KUTLAY GUVENER,                                )    Cts. 1, 12
SAAD AL MALLAK,                                )    Ct. 2
HASSAN ABDELATIF,                              )    Ct. 2
MAHAJIR NAZ,                                   )    Ct. 2
TALAL ABUAJAJ, '                               )    Ct. 2
BASEM HAMDAN a/k/a Abu Ramiz,                  )    Ct. 2
ZAINAL SALEH, and                              )    Ct. 2
IBRAHIM AWAD,                                  )    Cts. 14, 85, 86
                                               )
            Defendants.                        )
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·l                                              INDICTMENT

                                                   COUNTl
                             (Conspiracy to Traffic in Contraband Cigarettes)

             The Grand Jury charges that:

     BACKGROUND

            At all times relevant to this Indictment,

             1. A "cigarette" is defined by Title 18, United States Code, Section 2341(1) as (A) "any

     roll of tobacco wrapped in paper, or any substance not containing tobacco; and (B) any roll of

     tobacco wrapped in any substance containing tobacco which, because of its appearance, the type

     of tobacco used in its filter, or its packaging and labeling, is likely to be offered to, or purchased

     by, consumers as a cigarette."

             2. "Contraband cigarettes" is defined by Title 18, United States Code, Section 2341 (2)

     as "a quantity in excess of 10,000 cigarettes which bear no evidence of the payment of applicable

     state or local cigarette taxes in the state or locality where such cigarettes are found, if the state or

     local government requires a stamp, impression, or other indication to be placed on packages or

     other containers of cigarettes to evidence payment of cigarette taxes, .... "

             3. Every stat~ in the United States imposes some tax (within a wide range) on the retail

     sale of cigarettes. All states, except North Carolina, South Carolina, and North Dakota require a

     state tax stamp or imprint be affixed on each individual pack of cigarettes as indicia that the state

     tax has been paid. Under Illinois state law, an Illinois state tax stamp must be affixed to any

     original package of cigarettes before a distributor can deliver it to a purchaser. 35 ILCS 130/3.

     Under Illinois State law, cigarettes that bear a tax stamp of another state are contraband

     cigarettes. 35 ILCS 130/1. Under Illinois State law, it is unlawful to transport contraband

     cigarettes into or within the State of Illinois. 35 ILCS 130/9c. The State of Illinois, Cook

     County, Illinois, and the City of Chicago, require a tax stamp to be affixed to individual cigarette

     packs as proof of applicable tax payments.
                                                        2
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        4. In addition to state tax, .some local jurisdictions impose a tobacco excise tax on

cigarettes. The amount of the tax varies state-by-state and local jurisdiction. For example, the

state-local per pack tax rate for St. Louis, City, Missouri is $0.24, while the state-local per pack

tax rate for St. Louis County, Missouri is $0.22. The highest combined state-local tax rate is

$6.16 per pack in Chicago, Illinois with New York City, NY second at $5.85 per pack.

Therefore, cigarettes acquired in a source state such as Missouri, and subsequently sold in a

higher tax state such as Illinois, New York or New Jersey ($2.70 state rate, ninth highest), can

generate a substantial illegal financial gain for the traffickers when the required taxes in the

consumer state are circumvented.

        5. It is common for cigarettes to be packaged as follows: 20 cigarettes in a pack, ten

packs of cigarettes to a carton; thus a carton contains 200 cigarettes. (50 cartons contain 10,000

cigarettes).

THE CONSPIRACY

        6. Beginning on an unknown date, but not earlier than January 1, 2014, and continuing.

until the present date, in the Eastern District of Missouri, the Southern and Northern Districts of

Illinois, the District of New Jersey, and elsewhere, ·

                        MOHAMMED ALMUTTAN a/k/a Abu Ali,
                          RAMI ALMUTTAN a/k/a Abu Louay,
                         IDSHAM MlJTAN a/k/a Abu Mohamed,
                            SADDAM MUTAN, a/k/a Abu Ali,
                       MAZIN ABDELSALAM a/k/a Abu Mohammad,
                           NAJEH MUHANA a/k/a Abu Yazan,
                          FARES MUHANA a/k/a Abu Yamama,
                          AYOUB QAIYMAH a/k/a Abu Faysal,
                                   NASERABID,
                          YADGAR BARZANJI a/k/a Abu Siver,
                                 WAFAAALWAN,
                             AHMED ABUALI a/k/a Bazilla,
                       MOHAMMED KAYED a/k/a Mohammed Fayez,
                                 MOMEN ABUALI,
                                 FIRAT SEVINDIK,
                              MOHAMMED MUSTAFA,
                       MOHAMMED KARASHQAH a/k/a Abu Yazid,
                                 FAYEZ SHEIKHA,
                                        3
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                            JIHAD SHIHADEH a/k/a Abu Malik,
                                   ISMAEL ABADI,
                             ABED HAMED a/k/a Abed Fawzan,
                            MAHER HAMED a/k/a Abu Alazara,.
                                      ABDEL ADI,
                           MUHANAD KHATIB a/k/a Abu Alamin,
                                     EYADAWAD,
                                    DALE GARBIN,
                                HAYDER AL FATLI, and
                                  KUTLAY GUVENER,

the defendants herein, did knowingly combine, conspire, confederate, and agree, together and

with other individuals, known and unknown to this Grand Jury, to knowingly transport, receive,

possess, distribute, sell, and purchase contraband cigarettes, as that term is defined in Title 18,

United States Code, Section 3241, which bore no evidence of the payment of the applicable

cigarette taxes in the State of Illinois, contrary to Title 18, United States Code, Section 2342 (a).

MANNER AND MEANS

       7. The means and methods by which the conspiracy was sought to be accomplished

included, among others, the following:

           a. Defendants Mohammed Almuttan, Rami Almuttan, Hisham Mutan, and Saddam

Mutan financed the purchase of Missouri tax stamped cigarettes in the St. Louis, Missouri area

from wholesale distributors, primarily Sam's Club Warehouses (Sam's).

           b. Defendants Mohammed Almuttan, Saddam Mutan, and Wafaa Alwan on an

almost daily basis purchased large quantities of Missouri tax stamped bigarettes from Sam's,

primarily using cash.

           c. Defendants Mohammed Almuttan, Saddam Mutan, and Wafaa Alwan, after

making cigarette purchases at Sam's stored the cigarettes at Mohammed Almuttan's residence,

Saddam Mutan's residence, and Mally's Supermarket among other locations.

           d. Defendants Mohammed Almuttan, Saddam Mutan and Y adgar Barzanji made

arrangements for the sale of the stored Missouri tax stamped cigarettes to out of state purchasers


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such as Najeh Muhana, Fares Muhana; Muhanad Khatib, Naser Abid, Ayoub Qaiymah, and

others.

             e. Out of state purchasers arranged for couriers such as Mohammed Kayed, Ahmed

Abuali, Momen Abuali, Mohammed Mustafa, Fayez Sheikha, Mohammed Karashqah, Akram

Mojali, Ismael Abadi, Jihad Shihadeh, Eyad Awad, Dale Garbin, Abdel Adi, Abed Hamed,

Kutlay Guvener, and others to actually travel to the State of Missouri to deliver payment, receive

a load of Missouri tax stamped cigarettes, and transport them to Illinois, New Jersey, and

elsewhere.

             f.   Defendant Mohammed Almuttan occasionally utilized couriers such as Wafaa

Alwan and Hayder Al Fatli to deliver Missouri tax stamped cigarettes to purchasers in the

Chicago, Illinois area.

OVERT ACTS

          8. In furtherance of the conspiracy and to effect the objects of the conspiracy, the

defendants committed and caused the following overt acts:

             a. On or about July 6, 2015, Najeh Muhana and Fayez Sheikha were stopped in a

van in the State of Indiana transporting 2,460 cartons of Missouri tax stamped cigarettes which

they obtained from Mohammed.Almuttan in the Eastern District of Missouri earlier that day.

             b. On or about November 2, 2015, Fayez Sheikha was stopped in a pickup truck in

the State of Indiana transporting 1,953 cartons of Missouri tax stamped cigarettes which he

obtained from Mohammed Almuttan in the Eastern District of Missouri.

             c. On or about November 6, 2015, Najeh Muhana was stopped in a SUV in the State

of Indiana transporting approximately $240,000.00 in cash with which he intended to purchase

Missouri tax stamped cigarettes from Mohammed Almuttan in the Eastern District of Missouri.

             d. On or about March 16, 2016, Mohammad Karashqah was stopped in a Suburban

in the State of Ohio transporting approximately $107,850.00 in cash with which he intended to

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purchase Missouri tax stamped cigarettes from Mohammed Almuttan in the Eastern District of

Missouri.

            e. On or about April 5, 2016, Mohammad Karashqah obtained multiple cartons of

Missouri tax stamped cigarettes from Mohammed Almuttan in the Eastern District of Missouri

and transported them outside the State of Missouri.

            f.   On or about June 25, 2016, Mohammed Mustafa obtained approximately 5,420

cartons of Missouri tax stamped cigarettes from Saddam Mutan in the Eastern District of

Missouri and transported them outside the State of Missouri.

            g. On or about August 25, 2016, Wafaa Alwan was stopped in a Chevrolet Impala in

the State of Illinois transporting approximately 500 cartons of Missouri tax stamped cigarettes

which she obtained from Saddam Mutan in the Eastern District of Missouri.

            h. Defendant Jihad Shihadeh acquired contraband cigarettes in the Eastern District

of Missouri on the dates below, from the co-defendants below, and transported them for further

distribution out of the State of Missouri.

 1.  November 22, 2016                Saddam Mutan
 2.  November 26, 2016                Saddam Mutan
                                                                                          -
 3.  November 29, 2016                Saddam Mutan
 4.  December 5, 2016                 Saddam Mutan
 5.  December 9, 2016                 Saddam Mutan
 6.  December 12, 2016                Saddam Mutan
 7.  December 14, 2016                Saddam Mutan
 8.  December 16, 2016                Saddam Mutan
 9.  December 18, 2016                Saddam Mutan
 10. December 20, 2016                Saddam Mutan
 11. December 22, 2016                Saddam Mutan
 12. December 25, 2016                Saddam Mutan
 13. December 28, 2016                Saddam Mutan
 14. December 30, 2016                Saddam Mutan
 15. December 31, 2016                Saddam Mutan
 16. January 2, 2017                  Saddam Mutan
 17. January 3, 2017                  Saddam Mutan
 18. January 9, 2017                  Yadgar Barzanji
 19. January 10, 2017                 Saddam Mutan
 20. January 13, 2017                 Yadgar Barzanji
 21. January 16, 2017                 Y adgar Barzanji
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~    22.   January 17, 2017              Saddam Mutan
     23.   January 23, 2017              Saddaµi Mutan
     24.   January 26, 2017              Saddam Mutan
     25.   January 28, 2017              Y adgar Barzanji
     26.   February 5, 2 017             Yadgar Barzanji
     27.   February 6, 2 017             Y adgar Barzanji
     28.   February 7, 2 017             Saddam Mutan
     29.   February 8, 2 017             Saddam Mutan/Yadgar Barzanji
     30.   February 10, 2017             Saddam Mutan/Yadgar Barzanji

               1.   Onor about March 1, 201 7, Defendant Jihad Shihadeh was stopped in a pickup

    truck in the State of Illinois transporting approximately 600 cartons of Missouri tax stamped

    cigarettes obtained from Saddam Mutan and Yadgar Barzanji in the Eastern District of Missouri.
                          I

               J.   Defendant Ayoub Qaiymah acquired contraband cigarettes in the Eastern District

    of Missouri on the dates below, from the co-defendants below, and transported them for further

    distribution out ofthe State of Missouri.

     I.    August 30, 2 016              Saddam Mutan
     2.    November 18,2016              Saddam Mutan
     3.    November2 8,2016              Saddam Mutan
     4.    December4, 2016               Saddam Mutan

               k. On December 29, 2016, Ayoub Qaiymah was stopped in a van in the State of

    Illinois transporting approximately $133,000.00 in cash with which he intended to purchase

    Missouri tax stamped cigarettes from Saddam Mutan.

               1.   Defendant Ismael Abadi acquired contraband cigarettes in the Eastern District of

    Missouri on the dates below, from the co-defendants below, and transported them for further

    distribution to co-defendant Naser Abid out of the State of Missouri.

     I.      November 18,2016            Saddam Mutan
     2.      November 30,3016            Saddam Mutan
     3.    . December 4, 2016            Saddam Mutan
     4.      December6, 2016             Saddam Mutan

               m. Onor about December 6, 2016, Ismael Abadi was stopped in a Ford Explorer in

    the State of Illinois transporting approximately 718 cartons of Missouri tax stamped cigarettes

    obtained from Saddam Mutan in the Eastern District of Missouri.
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            n. On or about January 25, 2017, Naser Abid was stopped in a Honda Accord in the

State of Illinois transporting approximately 68 cartons of Missouri tax stamped cigarettes

obtained from Saddam Mutan in the Eastern District of Missouri.

            o. Defendant Muhanad Khatib, assisted by the co-defendant listed, acquired

contraband cigarettes in the Eastern District of Missouri onthe dates below, from the co-

defendants below, and transported them for further distribution out of the State of Missouri.

 1.    November 14, 2016       Saddam Mutaff'                     Dale Garbin
 2.    November 17, 2016       Saddam Mutan                       Dale Garbin
 3.    November 27, 2016       Saddam Mutan
 4.    December 2, 2016        Saddam Mutan
 5.    December 6, 2016        Saddam Mutan                       Dale Garbin
 6.    December 10, 2016       Saddam Mutan
 7.    December 14, 2016       Saddam Mutan                       EyadAwad
 8.    December 17, 2016       Saddam Mutan                       Dale Garbin/Eyad Awad
 9.    December 23, 2016       Saddam Mutan                       EyadAwad

            p. On or about December 23, 2016, Muhanad Khatib and Eyad Awad were stopped

in a Chevrolet Venture in the State of Illinois transporting approximately 990 cartons of Missouri

tax stamped cigarettes which they obtained from Saddam Mutan in the Eastern District of

Missouri.

            q. Defendant Maher Hamed, assisted by the co-defendant listed, acquired

contraband cigarettes in the Eastern District of Missouri on the dates below, from the co-

defendants below, and transported them for further distribution out of the State of Missouri.

 1.    January 4, 2017         Saddam Mutan                      Abed Hamed
 2.    January 5, 2017         Saddam Mutan
 3.    January 7, 201 7        Saddam Mutan
 4.    January 11, 201 7       Saddam Mutan
 5.    January 16, 2017        Saddam Mutan
 6.    January 18, 2017        Saddam Mutan                      Abed Hamed
 7.    January 20, 2017        Saddam Mutan                      Abed Hamed
 8.    January 22, 2017        Saddam Mutan                      Abed Hamed
 9.    January 24, 2017        Saddam Mutan                      Abed Hamed
 10.   January 25, 2017        Saddam Mutan                      Abed Hamed




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           r.   Defendants Ahmed Abuali and Mohammad Kayed acquired contraband cigarettes

in the Eastern District of Missouri on the dates below, from the co-defendants below, and

transported them for further distribution out of the State of Missouri.

 1.    December 23, 2016              Saddam Mutan                                                 I
 2.    December 31, 2016              Saddam Mutan                                                 I
           s. Defendant Momen Abuali, assisted by the co-defendants listed below, acquired

contraband cigarettes in the Eastern District of Missouri on the dates below, from the co-

defendants below, and transported them for further distribution out of the State of Missouri.

 1.   January 13, 2017                 Saddam Mutan                Najeh Muhana
 2.   January 20, 2017                 Saddam Mutan                Firat Sevindik
 3.   January 27, 2017                 Saddam Mutan                Firat Sevindik
 4.   February 3, 2017                 Saddam Mutan                Firat Sevindik
 5.   February 20, 2017                Saddam Mutan
 6.   February 24, 2017                Saddam Mutan
 7.   March 2, 2017                    Saddam Mutan
 8.   March 16, 2017                   Saddam Mutan

           t.   On or-about February 3, 2017, Defendant Firat Sevindik was stopped in a

Chevrolet Suburban in the State of Illinois transporting approximately 1,197 cartons of Missouri

tax stamped cigarettes obtained from Saddam Mutan in the Eastern District of Missouri.

           u. On or about March 16, 2017, Defendant Momen Abuali was stopped in a

Chevrolet Impala in the State of Illinois transporting approximately 450 cartons of Missouri tax

stamped cigarettes obtained from Saddam Mutan in the Eastern District of Missouri.

           v. Defendant Abdel Adi acquired contraband cigarettes in the Eastern District of

Missouri on the dates below, from the co-defendants below, and transported them for further

distribution out of the State of Missouri.

 1.    February 1, 2017               Saddam Mutan
 2.    March 1, 2017                  Saddam Mutan
 3.    March 3, 2017                  Saddam Mutan
 4.    March 6, 2017                  Saddam Mutan
 5.    March 9, 2017                  Saddam Mutan
 6.    March 10, 2017                 Saddam Mutan
 7.    March 15, 2017                 Saddam Mutan
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 8.    March 20, 2017                 Saddam Mutan
 9.    March 23, 2017                 Saddam Mutan
 10.   March 27, 2017                 Saddam Mutan
 11.   March 29, 2017                 Saddam Mutan
 12.   April 3, 2017                  Saddam Mutan
 13.   April 18, 2017                 Saddam Mutan
 14.   May2, 2017                     Saddam Mutan
 15.   May 13, 2017                   Saddam Mutan ·
 16.   May 18, 2017                   Saddam Mutan

           w. On or about May 18, 2017, Defendant Abdel Adi was stopped in a Hyundai Santa

Fe in the State of Illinois transporting approximately 1080 cartons of Missouri tax stamped

cigarettes obtained from Saddam Mutan in the Eastern District of Missouri.

           x. Defendant Kutlay Guvener acquired contraband cigarettes in the Eastern District

of Missouri on the dates below, from th(;: co-defendants below, and transported them for further

distribution out of the State of Missouri.

 1.    February 15, 2017               Saddam Mutan
 2.    February 16, 2017               Saddam Mutan
 3.    February 17, 2017               Saddam Mutan
 4.    February 23, 2017               Saddam Mutan
 5.    March 3~ 2017                   Sadd~m Mutan
 6.    March 4, 2017                   Saddam Mutan
 7.    March 6, 2017                   Saddam Mutan
 8.    March 7, 2017                   Saddam Mutan
 9.    March 8, 2017                   Saddam Mutan
 10.   March 9, 2017                   Saddam Mutan
 11.   March 10, 2017                1 Saddam Mutan
 12.   March 14, 2017                  Saddam Mutan
 13.   March 15, 2017                  Saddam Mutan
 14.   March 16, 2017                  Saddam Mutan
 15.   March 21, 2017                  Saddam Mutan
 16.   March 22, 2017                  Saddam Mutan
 17.   March 23, 2017                  Saddam Mutan
 18.   March 27, 2017                  Saddam Mutan
 19.   March 28, 2017                .Saddam Mutan
 20.   March 29, 2017                  Saddam Mutan
 21.   May 17, 2017                    Saddam Mutan

           y. On or about May 17, 2017, Defendant Kutlay Guvener was stopped in a Ford

Taurus in the State of Illinois transporting approximately 420 cartons of Missouri tax stamped

cigarettes obtained from Saddam Mutan in the Eastern District of Missouri.
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             z. Defendant Y adgar Barzanji delivered/acquired Missouri state-tax stamped

cigarettes from/to Saddam Mutan, for delivery to a courier for transportation out of the State of

Missouri.

 1.    December 22, 2016             Saddam Mutan
 2.    February 13, 2017             Saddam Mutan
 3.    February 14, 2017             Saddam Mutan
 4.    February 15, 2017             Saddam Mutan
 5.    February 21,. 2017            Saddam Mutan
 6.    February 22, 2017             Saddam Mutan
 7.    February 23, 2017             Saddam Mutan
 8.    February 27, 2017             Saddam Mutan
 9.    March 1, 2017,                Saddam Mutan
 10.   March 15, 2017                Saddam Mutan

       All in violation of, and punishable under, Title 18, United States Code, Section 371.

                                          COUNT2
               (Conspiracy to Distribute Controlled Substances and Analogues)

        The Grand Jury further charges that:

        A.       Beginning on an unknown date, but including 2014 through 2016, and

 continuing to on or about the date of this Indictment, with the exact dates known and unknown,

 in the Eastern District of Missouri and elsewhere,

                                  MOHAMMED ALMUTTAN,
                                    RAMI ALMUTTAN,
                                     HISHAM MUTAN,
                                    SAAD AL MALLAK,
                                   HASSAN ABDELATIF,
                                      MAHAJIR NAZ,
                                     TALAL ABUAJAJ,
                                   BASEM HAMDAN, and
                                      ZAINAL SALEH,

 the defendants herein, did knowingly and unlawfully combine, conspire, agree, and confederate

 together with each other and other persons, both known and unknown to the Grand Jury, to

 distribute and to possess with the intent to distribute Schedule I controlled substances and

 Schedule I controlled substance analogues intended for human consumption, in violation of

 Title 21, United States Code, Sections 841(a)(l) and 813.
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         B.    MANNER AND MEANS OF THE CONSPIRACY

                1.       It was part of the drug-trafficking conspiracy that the defendants

 Mohammed Almuttan, Rami Almuttan, Hisham Mutan, Saad Al Mallak, and others would

 import chemicals from other countries, including China, to various locations in the Eastern

 District of Missouri.

                2.       Hwas further part of the drug-trafficking conspiracy that the imported

chemicals would often have misleading labels, manifests or declarations regarding contents, in

order to avoid detection by law enforcement officers.

                3.       It was further part of the drug-trafficking conspiracy that defendants

Mohammed Almuttan, Rami Almuttan, Hisham Mutan, Saad Al Mallak, and others, would use

the imported chemicals to manufacture synthetic drugs.

                4.       It was further part of the drug-trafficking conspiracy that the organization

set up locations for manufacturing and/or packaging the synthetic drugs including but not limited

to a rural property located around Dittmer, Missouri in Jefferson County known to the

conspirators as "the Farm."

                5.       It was further part of the drug-trafficking conspiracy that defendants

Mohammed Almuttan, Rami Almu~an, Hisham Mutan, Saad Al Mallak, and others would

liquefy the chemicals through a process of adding alcohol, acetone, and/or other solvents.

                6.       It was further part of the drug-trafficking conspiracy that defendants

Mohammed Almuttan, Rami Almuttan, Hisham Mutan, Saad Al Mallak, and others would spray

the liquefied chemicals on herbs, such as Damiana and/or Marshmallow leaf, creating synthetic

drugs.

                7.       It was further part of the drug-trafficking conspiracy that defendants

Mohammed Almuttan, Rami Almuttan, Hisham Mutan, Saad Al Mallak, and others, would

order, purchase, and/or receive manufdctured synthetic drugs in pre-packaged and in bulk form

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     from various synthetic drug distributors throughout the United States, including but not limited

     to, the States of New Jersey and Illinois.

                      8.    It was further part of the drug-trafficking conspiracy that the chemicals

     and synthetic drugs would contain controlled substances and/or controlled substance analogues,

     including, but not limited to, the following:

                            a)      Alpha-pyrrolidinopentiophenone (known as ALPHA-PVP);

                            b)      Methyl 2-(1-(5-fluoropentyl)-lH-indazole-3-carboxamido)-3-

     methylbutanoate (known as 5F-AMB);

                            c)       l-(5-Fluoropentyl)-3-(2,2,3,3-tetramethylcyclopropoyl)indole (known

     asXLR-11);

                            d)      Methyl 2-(1-(4-fluorobenzyl)-lH-indazole-3-carboxamido)-3-

     methylbutanoate (known as FUB-AMB and/or MMB-FUBINACA);

                            e)      N-(l-Amino-3,3-dimethyl-1-oxobutan-2-yl)-l-(4-fluorobenzyl)-

     lH-indazole-3-carboxamide (known as ADB-FUBINACA); and

                            f)      N-(1-Amino-3-methyll-oxobutan-2-yl)-1-pentyl-lh-indazole3-

     carboxamide (known as AB-PINACA).

                      9.    It was further part of the drug-trafficking conspiracy that defendants,

     Mohammed Almuttan, Rami Almuttan, Hisham Mutan, Saad Al Mallak, Hassan Abdelatif,

     Mahajir Naz, Talal Abuajaj, Basem Hamdan, Zainal Saleh, and others owned, operated,

     managed, and/or were employed at various convenience stores, gas stations, and local markets

     through out St. Louis City, St. Louis County, and elsewhere including but not limited to SS

     Phillip's 66, Kenny's Market (AKA Kenyes Market), Northway Market, G&S Market, Page

     Discount Market, and Hazelwood Discount Cigarettes.

                      10.   It was further part of the drug-trafficking conspiracy that defendants

     Mohammed Almuttan, Rami Almuttan, Hisham Mutan, Saad Al Mallak, Hassan Abdelatif,

                                                      13
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Mahajir Naz, Talal Abuajaj, Basem Hamdan, Zainal Saleh, and others would distribute the

synthetic drugs from the aforementioned convenience stores, gas stations, and local markets
                                         \

throughout St. Louis City, St. Louis County, and elsewhere.

                    11.   It was further part of the drug-trafficking conspiracy that defendants

Mohammed Almuttan, Rami Almuttan, Hisham Muttan, Saad Al Mallak, Hassan Abdelatif,

Mahajir Naz, Talal Abuajaj, Basem Hamdan, and others would package and/or distribute the

synthetic drugs, consisting of controlled substances and controlled substance analogues, with

names including, but not limited to: "Bob Marley," "Green Giant," "Sexy Monkey," "AK-47 24.

karat Gold," "Scooby Snax," "Caution," "WTF," "Deadman," "iBlown," "Dr. Feelgood," "7H

Hydro," Deadman Walking," "Mr. Big Shot," and ''NO MAME," on the packaging.

                    12.   It was further part of the drug-trafficking conspiracy that the

aforementioned packages of synthetic drugs were intended for human consumption although the

packaging often carried a "not for human consumption" label in an attempt to thwart drug-

trafficking laws.

                    13.   It was further part of the drug-trafficking conspiracy that defendants,

Mohammed Almuttan, Rami Almuttan, Hisham Mutan, Saad Al Mallak, Hassan Abdelatif,

Mahajir Naz, Talal Abuajaj, Basem Hamdan, Zainal Saleh, and others would package and/or

distribute the synthetic drugs in plastic condiment cups or other containers that bore no labels.

                    14.   The synthetic drugs would be consumed primarily by smoking the

substance in order for the user to obtain a "high."

        All in violation of Title 21, United States Code, Section 846 and punishable under Title

21, United States Code, Section 841(b)(l)(C).

                                       COUNTS 3through13
                               (Trafficking in Contraband Cigarettes)

        The Grand Jury further charges that:


                                                    14
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        1.      The allegations contained in paragraphs 1 through 5, 7, and 8 are realleged and

incorporated as if fully set out herein.

        2.      On or about the date set forth below, in Column B, in the Eastern District of

Missouri, and elsewhere, the defendant's name in Column C, did knowingly and unlawfully ship,

transport, receive, possess, sell, distribute, and purchase contraband cigarettes, as that term is

defined in Title 18, United States Code, Section 2341(2), in the approximate amount alleged in

Column D, and did aid and abet each of the other named defendants listed in each particular

count in so doing.

    A                    B                              c                             D
  COUNT                 DATE                    DEFENDANTS                       NUMBER OF
                                                                                 CIGARETTE
                                                                                  CARTONS
      3               July 6, 2015              Najeh Muhana                        2,460
                                                Fayez Sheikha
                                              Mohammad Almuttan
      4          November 2, 2015               Fayez Sheikha                          1,953
                                              Mohammad Almuttan

       5             June 25, 2016            Mohammed Mustafa                         5,420
                                                Saddam Mutan
       6          August 25, 2016               WafaaAlwan                              500
                                                Saddam Mutan
       7         December 6, 2016                Ismael Abadi                           718
                                                Saddam Mutan
       8        December 23, 2016              Muhanad Khatib                           990
                                                  EyadAwad
                                                Saddam Mutan

       9          February 3, 2017                Firat Sevindik                       1,197
                                                 Saddam Mutan
      10             March 1, 2017               Jihad Shihadeh                         600
                                                 Saddam Mutan
      11          March 17, 2017                 Momen Abuali                           450
                                                 Saddam Mutan
     . 12            May 17, 2017                Kutlay Guvener                         420
                                                 Saddam Mutan
      13             May 18, 2017                   Abdel Adi                          1080
                                                 Saddam Mutan




                                                  15
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       All in violation of Title 18, United States Code, Sections 2342(a) and 2 and punishable

under Title 18, United States Code, Section 2344(a).

                                          COUNT 14
                                 (Conspiracy to Money Launder)

       The Grand Jury further charges that:

        1.      Beginning on or about January 1, 2015 and continuingthrough the present, within

the Eastern District of Missouri,

                                    MOHAMMAD ALMUTTAN,
                                       HISHAM MUTAN,
                                      RAMI ALMUTTAN,
                                      SADDAM MUTTAN,
                                    MAZIN ABDELSALAM, and
                                       IBRAHIM AWAD,

The defendants herein, did unlawfully and knowingly combine, conspire, confederate, and agree

together and with each other, and with others known to the Grand Jury to conduct and attempt to

conduct a financial transaction affecting interstate commerce which transaction involved the

proceeds of specified unlawful activity, that is, contraband cigarette trafficking

                a)     with the intent to promote the carrying on of such specific unlawful

activity, and

                b)     knowing the transaction was designed in whole or in part to conceal and

disguise the nature, location, and source of the proceeds of said specified unlawful activity and

that while conducting and attempting to conduct such financial transactions, knew that the

property involved in the financial transaction represented the proceeds of some form of unlawful

activity, in violation of Title 18, United States Code, Section 1956(a)(l).

                                        Manner and Means

       2.       It was part of the conspiracy that:

                a)     the defendants engaged in the unlawful transporting, receiving,

possessing, selling, and distributing of contraband cigarettes;

                                                  16
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                b)      the defendants committed the above unlawful activity by, in part,

purchasing Missouri tax-stamped cigarettes;

                c)      the defendants ostensibly purchased Missouri tax-stamped cigarettes for

resale in the Eastern District of Missouri by the convenience stores they owned and operated

utilizing Sam's business memberships;

                d)      some of the Missouri tax-stamped cigarettes purchased by the defendants

were manufactured by Reynolds;

                e)      Reynolds, through a nationwide rebate program, issued rebate checks to

the various convenience stores owned and operated by the defendants based on the amount of

Missouri tax-stamped cigarettes purchased under the store's account;

                f)      the defendants deposited the above rebate checks into bank accounts

controlled by the defendants;

                g)      the defendants utilized monies from the above bank accounts to further the

unlawful activity of contraband cigarette trafficking.

All in violation of, and punishable under, Title 18, United States Code, Section 1956(h).

                                          COUNTS 15 - 27
                                        (Money Laundering)

        The Grand Jury further charges that:

        1.      The allegations contained in Counts 1and14 are incorporated by referenced as if

fully set forth here.

        2.      On or about the dates alleged below, in the Eastern District of Missouri,

                                     MAZIN ABDELSALAM,

the defendant herein, did knowingly conduct and attempt to conduct a financial transaction

affecting interstate commerce, to-wit: the deposit ofRJ Reynolds rebate checks into Bank of

America account xxxx xxxx 0070 (Mally Inc., ATM account), which involved the proceeds of a

specified unlawful activity, that is, trafficking in contraband cigarettes, in violation of Title 18,
                                                   17

                                                                             \
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United States Code, Section 2342, knowing that the transaction was designed in whole and in

part to conceal and disguise the nature, location, source, ownership, and control of the proceeds

of said specified unlawful activity and that while conducting and attempting to conduct such

financial transactions knew that the property involved represented the proceeds of some unlawful

activity.

 COUNT            DATE            AMOUNT                  PAYEE
   15             8/11/2016          $7,239.60 Lillian Market
   16             5/11/2016         $13,663.60 Hazelwood Disc Cigarettes
   17              5/2/2016          $6,~25.40 Kenny's Discount Cigarettes
   18            12/17/2015          $5,187.60 Lillian Market
   19             12/8/2015          $8,449.00 Six Stars Market
   20            11/23/2015          $7,253.90 Mally Phillips 66
   21            10/26/2015          $5,815.80 Six Stars Market
   22             9/21/2015          $6,839.50 Hazelwood Disc Cigarettes
   23             9/16/2015         $10,107.60 Lillian Market
   24             8/14/2015         $13,568.70 Broadway Meat Market
   25              8/3/2015          $5,616.60 Hazelwood Disc Cigarettes
   26              8/3/2015          $5,815.10 Kenny's Discount Cig
   27              8/3/2015          $7,154.20 Lillian Market

        All in violation of, and punishable under, Title 18, United States Code, Sections

1956(a)(l)(B)(i) and (d).

                                          COUNTS 28 - 29
                                        (Money Laundering)

        The Grand Jury further charges that:

        1.       The allegations contained in Counts 1 and 14 are incorporated by referenced as if

fully set forth· here.

        2.       On or about the dates alleged below, in the Eastern District of Missouri,

                                     SADDAM MUTAN and
                                     MAZIN ABDELSALAM,

the defendants herein, did knowingly conduct and attempt to conduct a financial transaction

affecting interstate commerce, to-wit: the deposit of RJ Reynolds rebate checks into Bank of

America account xxxx xxxx 7651 (Mally Inc.), which involved the proceeds of a specified

                                                  18
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.   unlawful activity, thatis, trafficking in contraband cigarettes, in violation of Title 18, United

    States Code, Section 2342, knowing that the transaction was designed in whole and in part to

    conceal and disguise the nature, location, source, ownership, and control of the proceeds of said

    specified unlawful ac tivity and that while conducting and attempting to conduct such financial

    transactions knew that the property involved represented the proceeds of some unlawful activity.

    ENDORSED BY SADDAMMUTAN
     COUNT           DATE             AMOUNT                        PAYEE
        28              5/1 3/16            $5,147.50 Mally Supermarket

     ENDORSED BY M AZIN ABDELSALAM
     COUNT           DATE             AMOUNT                        PAYEE
        29                  8/3/15          $6,426.10 Mally Phillips 66


             All in violatio n of, and punishable under, Title 18, United States Code, Sections

    1956(a)(l)(B)(i) and (d).

                                             COUNTS 30 - 33
                                           (Money Laundering)

             The Grand Jury further charges that:

             1.     The al legations contained in Counts 1 and 14 are incorporated by referenced as if

    fully set forth here.

             2.     On or about the dates alleged below, in the Eastern District ofMissoUri,

                                          MAZIN ABDELSALAM,

    the defendant herein, did knowingly conduct and attempt to conduct a financial transaction

    affecting interstate commerce, to-wit: the deposit of RJ Reynolds rebate checks into Bank of
                                      \

    Arrlericaaccountxxxx xxxx 4066 (M4M LLC), which involved the proceeds of a specified

    unlawful activity,. thatis, trafficking in contraband cigarettes, in violation of Title 18, United

    States Code, Section 2342, knowing that the transaction was designed in whole and in part to

    conceal and disguise the nature, location, source, ownership, and control of the proceeds of said



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.   specified unlawful activity and that while conducting and attempting to conduct such financial

    transactions knew that the property involved represented the proceeds of some unlawful activity.

     COUNT           DATE             AMOUNT                           PAYEE
       30              1/30/17           $6,471.70         Conco Gas   Station
       31             11124/15          $13,530.80         Conco Gas   Station
       32             10/27/15           $6,885 .90        Conco Gas   Station
       33               8/3/15           $7,903.20         Conco Gas   Station


            All in violation of, and punishable under, Title 18, United States Code, Sections

    1956(a)(l)(B)(i) and (d).

                                              COUNTS 34 - 35
                                            (Money Laundering)

            The Grand Jury further charges that:

            1.      The allegati ons contained in Counts 1 and 14 are incorporated by referenced as if

    fully set forth here.

            2.      On or about the dates alleged below, in the Eastern District of Missouri,

                                    MOHAMMED ALMUTTAN and
                                      MAZIN ABDELSALAM,

    the defendants herein, did knowingly conduct and attempt to conduct a financial transaction

    affecting interstate commerce, to-wit: the deposit ofRJ Reynolds rebate checks into Bank of

    America account xxxx xxxx 0238 (R&A LLC), which involved the proceeds of a specified

    unlawful activity, that is, trafficking in contraband cigarettes, in violation of Title 18, United

    States Code, Section 2342, knowing that the transaction was designed in whole and in part to

    conceal and disguise the nature, location, source,   ownership~    and control of the proceeds of said

    specified unlawful activity and that while conducting and attempting to conduct such financial

    transactions knew that the property involved represented the proceeds of some unlawful activity.




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i   ENDORSED BY MOHAMMED ALMUTTAN
     COUNT           DATE             AMOUNT                        PAYEE
        34              1/31/17           $20,214.70 LillianMarket

     ENDORS ED BY MAZIN ABDELSALAM
     COUNT           DATE             AMOUNT                        PAYEE
        35             11/14/16            $8,253.80 Lillian Market


             All.m violation of, and punishable under, Title 18, United States Code, Sections

    1956(a)(l)(B)(i) and (d).

                                                 COUNT36
                                           (Money Laundering)

             The Grand Jury further charges that:

             1.     The allegations contained in Counts 1 and 14 are incorporated by referenced
                                                                                            .
                                                                                            /
                                                                                                as if

    fully set forth here.

             2.     On or about the dates alleged below, in the Eastern District of Missouri,

                                        MAZIN ABDELSALAM,

    the defendant herein, did knowingly conduct and attempt to conduct a financial transaction

    affecting interstate commerce, to-wit: the deposit ofRJ Reynolds rebate checks into Bank of

    America account xxxx xxxx 0555 (SAE & RA LLC, DBA Kenyes Market), which involved the

    proceeds of a specified unlawful activity, that is, trafficking in contraband cigarettes, in violation

    ofTitle 18, United States Code, Section 2342, knowing that the transaction was designed in

    whole and in part to conceal and disguise the nature, location, source, ownership, and control of

    the proceeds of said specified unlawful activity and that while conducting and attempting to

    conductsuch financial transactions knew that the property involved represented the proceeds of

    some unlawful activity.

     COUNT           DATE             AMOUNT                        PAYEE
        36              8/11/16            $5,059.00 Kenny's Discount Cigarettes




                                                      21
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        All in violation of, and punishable under, Title 18, United States Code, Sections

1956(a)(l )(B)(i) and (d).

                                          COUNT37
                                       (Money Laundering)

        The Grand Jury further charges that:

        1.      The allegations contained in Counts 1 and 14 are incorporated by referenced as if

fully set forth here.

        2.      On or about the dates alleged below, in the Eastern District of Missouri,

                                        SADDAM MUTAN,

the defendant herein, did knowingly conduct and attempt to conduct a financial transa_ction

affecting interstate commerce, to-wit: the deposit ofRJ Reynolds rebate checks into Bank of

America account xxxx xxxx 5685 (Saddam Mutan), which involved the proceeds of a specified

unlawful activity, that is, trafficking in contraband cigarettes, in violation of Title 18, United

States Code, Section 2342, knowing that the transaction was designed in whole and in part to

conceal and disguise the nature, location, source, ownership, and control of the proceeds of said

specified unlawful activity and that while conducting and attempting to conduct such financial

transactions knew that the property involved represented the proceeds of some unlawful activity.

 COUNT
t-------;---
                 DATE             AMOUNT                PAYEE
   37              8/1/16            $6,579.20 Mally Supermarket


        All in violation of, and punishable under, Title 18, United States Code, Sections . ·

1956(a)(l)(B)(i) and (d).

                                         COUNTS 38 - 59
                                       (Money Laundering)

        The Grand Jury further charges that:

        1.      The allegations contained in Counts 1 and 14 are incorporated by referenced as if

fully set forth here.

                                                  22
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        2.     On or about the dates alleged below, in the Eastern District of Missouri,

                                     MAZIN ABDELSALAM,

the defendants herein, did knowingly conduct and attempt to conduct a financial transaction

affecting interstate commerce, to-wit: the deposit ofRJ Reynolds rebate checks into First Bank

account xxxx xx.xx 2254 (Mally Inc. DBA Six Stars Market), which involved the proceeds of a

specified unlawful activity, that is, trafficking in contraband cigarettes, in violation of Title 18,

United States Code, Section 2342, knowing that the transaction was designed in whole and in

part to conceal and disguise the nature, location, source, ownership, and control of the proceeds

of said specified unlawful activity and that while conducting and attempting to conduct such

financial transactions knew that the property involved represented the proceeds of some unlawful

activity.

 COUNT          DATE              AMOUNT                          PAYEE
    38            1131/17            $7,984.20         Six Stars Market
    39            1/30/17            $6,896.20         Six Stars Market
    40             1/9/17            $7,275.80         Hazelwood Disc Cigarettes
    41           12/23/16            $8,253.80         Lillian Market
    42           12/23/16            $6,993.20         Kenny's Discount Cigarettes
    43           12/23/16            $7,275.80         Hazelwood Disc Cigarettes
    44           12/12/16            $8,296.40         Hazelwood Disc Cigarettes
    45            12/9/16            $9,429.20         Lillian Market
    46            12/9/16            $7,986.80         Kenny's Discount Cigarettes
    47           11128/16            $8,253.80         Lillian Market
    48           11/28/16            $6,993.20         Kenny's Discount Cigarettes
    49           11128/16            $7,275.80         Hazelwood Disc Cigarettes
    50           11116/16            $6,993.20         Kenny's Discount Cigarettes
    51           11116/16            $7,275.80         Hazelwood Disc Cigarettes
    52            11/2/16            $5,258.60         Kenny's Discount Cigarettes
    53            11/2/16            $6,949.70         Hazelwood Disc Cigarettes
  . 54            11/2/16            $6,993.20         Kenny's Discount Cigarettes
    55            11/2/16            $8,253.80         Lillian Market
    56            11/2/16            $7,275.80         Hazelwood Disc Cigarettes
    57             8/1/16            $5,059.00         Kenny's Discount Cigarettes
    58             8/1/16            $6,477.40         Hazelwood Disc Cigarettes
    59             8/1/16            $7,239.60         Lillian Market




                                                  23
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.           All in violation of, and punishable under, Title 18, United States Code, Sections

    1956(a)(l)(B)(i) and (d).

                                              COUNTS 60 - 61
                                            (Money Laundering)

            The Grand Jury further charges that:

            1.      The allegations contained in Counts 1 and 14 are incorporated by referenced as if

    fully set forth here.

            2.      On or about the dates alleged below, in the Eastern District of Missouri,

                                           RAMI ALMUTTAN,

    the defendant herein, did knowingly conduct and attempt to conduct a financial transaction

    affecting interstate commerce, to-wit: the deposit ofRJ Reynolds rebate checks into First Bank

    account xxxx xxxx 2005 (Eagle Foods LLC, DBA Northway Market), which involved the

    proceeds of a specified unl awful activity, that is, trafficking in contraband cigarettes, in violation

    of Title 18, United States Code, Section 2342, knowing that the transaction was designed in

    whole and in part to concea1 and disguise the nature, location, source, ownership, and control of

    the proceeds of said specified unlawful activity and that while conducting and attempting to

    conduct such financial transactions knew that the property involved represented the proceeds of

    some unlawful activity.

     COUNT           DATE             AMOUNT                PAYEE
       60             9/22/16            $2,019.00 Northway Market
       61              8/12/16           $2,019.00 Northway Market


            All in violation of, and punishable under, Title 18, United States Code, Sections

    1956(a)(l)(B)(i) and (d).

                                              COUNTS 62 - 67
                                            (Money Laundering)

            The Grand Jury further charges that:


                                                      24
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        1.     _The allegations contained in Counts 1 and 14 are incorporated by referenced as -if

fully set forth here.

        2.      On or about the dates alleged below, in the Eastern District of Missouri,

                                     MAZIN ABDELSALAM,

the defendant herein, did knowingly conduct and attempt to conduct a financial transaction

affecting interstate commerce, to-wit: the deposit ofRJ Reynolds rebate checks into First Bank

account xxxx xxxx 2306 (Mally Inc.), which involved the proceeds of a specified unlawful

activity, that is, trafficking in contraband cigarettes, in violation of Title 18, United States Code,

Section 2342, knowing that the transaction was designed in whole and in part to conceal and

disguise the nature, location, source, ownership, and control of the proceeds of said specified

unlawful activity and that while conducting and attempting to conduct such financial transactions

knew that the property involved represented the proceeds of some unlawful activity.

 COUNT           D ATE            AMOUNT                        PAYEE
   62             10/11/16           $6,477.40         Hazelwood Disc Cigarettes
   63             10/11/16           $5,059.00         Kenny's Discount Cigarettes
   64               9/22/16          $6,477.40         Hazelwood Disc Cigarettes
   65                  9122116       $5,059.00         Kenny's Discount Cigarettes
   66                  9/13/16       $6,477.40         Hazelwood Disc Cigarettes
   67                  8/26/16       $5,059.00         Kenny's Discount Cigarettes


        All in violation of, and punishable under, Title 18, United States Code, Sections

1956(a)(l )(B)(i) and (d).

                                          COUNTS 68 - 84
                                        (Money Laundering)

        The Grand Jury further charges that:

        1.      The allegations contained in Counts 1 and 14 are incorporated by referenced as if

fully set forth here

        2.      On or about the dates alleged below, in the Eastern District of Missouri,

                                        SADDAM MUTAN, .
                                                  25
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the defendant herein, did knowingly conduct and attempt to conduct a financial transaction

affecting interstate commerce, to-wit: the deposit of RJ Reynolds rebate checks into First Bank·

account xxxx xxxx 2199 (MM&A LLC, DBA Mally Supermarket), which involved the proceeds

of a specified unlawful activity, that is, trafficking in contraband cigarettes, in violation of Title

18, United States Code, Section 2342, knowing that the transaction was designed in whole and in

part to conceal and disguise the nature, location, source, ownership, and control of the proceeds

of said specified unlawful activity and that while conducting and attempting to conduct such

financial transactions knew that the property involved represented the proceeds of some unlawful

activity.

 COUNT          DATE              AMOUNT                      PAYEE
   68             1/31/17           $18,017.20       Mally Supermarket
   69              1/9117            $7,957.60       Mally Supermarket
   70            12/27/16            $7,957.60       Mally Supermarket
   71             12/9/16            $9,079.00       Mally Supermarket
   72            11/25/16            $7,957.60       Mally Supermarket
   73            11/15/16            $7,957.60       Mally Supermarket
   74             11/1/16            $7,957.60       Mally Supermarket
   75            10/28/16            $7,961.00       Mally Supermarket
   76             10/6/16            $6,579.20       Mally Supermarket
   77             9/22/16            $6,579.20       Mally Supermarket
   78             9/12/16            $6,579.20       Mally Supermarket
   79             8/25/16            $6,579.20       Mally Supermarket
   80             8/11/16            $6,579.20       Mally Supermarket
   81             7/11/16            $6,506.60       Mally Supermarket
   82             6/28/16           $6, 506.60       Mally Supermarket
   83             6/14/16            $7,316.20       Mally Supermarket
   84              414116            $8,063.40       Mally Supermarket


        All in violation of, and punishable under, Title 18, United States Code, Sections

1956(a)(l)(B)(i) and (d).

                                          COUNTS 85 - 86
                                        (Money Laundering)

        The Grand Jury further charges that:


                                                  26
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        1.,     The allegations contained in Counts 1 and 14 are incorporated by referenced as if

fully set forth here.

        2.      On or about the dates alleged below, in the Eastern District of Missouri,

                                         IBRAHIM AWAD,

the defendant herein, did knowingly conduct and attempt to conduct a financial transaction

affecting interstate commerce, to-wit: the deposit of RJ Reynolds rebate checks into Bank of

America account xxxx xxxx 0908 (Broadway Meat Market LLC), which involved the proceeds

of a specified unlawful activity, that is, trafficking in contraband cigarettes, in violation of Title

18, United States Code, Section 2342, knowing that the transaction was designed in whole and in

part to conceal and disguise the nature, location, source, ownership, and control of the proceeds

of said specified unlawful activity and that while conducting and attempting to conduct such

financial transactions knew that the property involved represented the proceeds of some unlawful

activity. ·

 (:OUNT          DATE             AMOUNT                PAYEE
    85              5/2/16           $1,333.30 Broadway Meat Market
    86            11/25/15          $10,885.60 Broadway Meat Market


        All in violation of, and punishable under, Title 18, United States Code, Sections

1956(a)(l)(B)(i) and (d).

                                 FORFEITURE ALLEGATION

        The Grand Jury further finds probable cause that:

        1.      Pursuant to Title 18, United States Code, Section 98l(a), Title 28, United States

Code, Section 2461(c), and Title 49, United States Code, Section 80303, upon conviction of an

offense in violation of Title 18, United States Code, Section 2341, 2342, 2343, 2344, 2345, or

2346 or conspiracy to commit such offense, as set forth in Counts 1 and 3 through 13, the

defendant(s) shall forfeit to the United States of America any property, constituting, or derived


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from, any proceeds obtained, directly or indirectly, as the result of such violation(s), and any

vehicle involved in such violation(s).

               a. Subject to forfeiture is a sum of money equal to the total value of any

                    property, real and personal, constituting or derived from any proceeds

                    traceable to said offenses.

       2.      Pursuant to Title 21, United States Code, Section 853(a), upon conviction of an

offense in violation of Title 21, United States Code, Section 846, as set forth in Count 2, the

defendant(s) shall forfeit to the United States of America any property, constituting, or derived

from, any proceeds obtained, directly or indirectly, as the result of such violation(s) and any

property used, or intended to be used, in any manner or part, to commit, or to facilitate the

commission of such violation(s).

               a. Subject to forfeiture is a sum of money equal to the total value of any

                    property, real and personal, constituting or derived from any proceeds

                    traceable to said offense.

       3.      Pursuant to Title 18, United States Code, Section 982(a), upon conviction of an

offense in violation of Title 18, United States Code, Section 1956 or 1957, as set forth in Counts

14 through 86, the defendants shall forfeit to the United States of America any property, real or

personal, involved in such offense, and any property traceable to such property.

               a. Subject to forfeiture is a sum of money equal to the total value of property,

                    real and personal, involved in said offenses.

       4.      Specific property subject to forfeiture includes, but is not limited to, the

following:

               a.    real property located at 3615 Bridgeton Valley Circle, Bridgeton, Missouri
                     63044, being more particularly described as follows:

                     Lot 11 of Bridgeton Valley Subdivision, a subdivision in St. Louis County,
                     Missouri, according to the plat thereofrecorded in Plat Book 266, Page 62 of
                     the St. Louis County Records.
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       5.      If any of the property described above, as a result of any act or omission of the

defendants:

       a.      cannot be located upon the exercise of due diligence;

       b.      has been transferred or sold to, or deposited with, a third party;

       c.      has been placed beyond the jurisdiction of the court;

       d.      has been substantially diminished in value; or

       e.      has been commingled with other property which cannot be divided without

              . difficulty,

the United States of America will be entitled to the forfeiture of substitute property pursuant to

Title 21, United States Code, Section 853(p).

                                                      A TRUE BILL.



                                                      FOREPERSON
CARRIE COSTANTIN
Acting United States Attorney



JOHNJ.\VARE,#40880:M:O
Assistant United States Attorney


JOHN R. :M:ANTOVANI, #50867:M:O
Assistant United States Attorney




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